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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                        )            CHAPTER 13
                                              )
Yolanda Renee Lockwood,                       )            CASE NO. 21-52578 - SMS
                                              )
                                              )
                                              )
         DEBTOR.                              )

              DEBTOR'S AMENDMENT TO CHAPTER 13 SCHEDULES AND
                          SUMMARY OF SCHEDULES

         COMES NOW Debtor and amends the Chapter 13 Schedules to provide the following:

         1.    Debtor amends Schedule A/B, as attached, to update Debtor’s real and personal
               property.

         2.    Debtor amends Schedule C, as attached, to update Debtor’s property claimed as
               exempt.

         3.    Debtor amends Schedule D, as attached, to disclose and provide notice to the
               following creditor(s):

               Santander Consumer, Usa
               P.O. Box 961245, C/O Abel Marin
               Fort Worth, TX 76161

         4.    Debtor amends Schedule H, as attached, to disclose the following co-debtor(s):

               James Tace
               13882 Panhandle Lane
               Hampton, GA 30228

               Kiana Glenn
               13882 Panhandle Lane
               Hampton, GA 30228

         5.    Debtor amends the Summary of Schedules to reflect the changes listed below.

         WHEREFORE, Debtor prays that this Amendment be allowed, and for such other and

further relief as the Court deems appropriate and just.
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Respectfully submitted,
                                                  Done, this 14th day of June 2021

                                                  /s/
                                                  Araba Kwofie
                                                  GA Bar No.: 901621
                                                  The Semrad Law Firm, LLC
                                                  235 Peachtree St NE
                                                  Suite #300
                                                  Atlanta, GA 30303
                                                  (678) 668-7160
                                                  Attorney for the Debtor/Movant
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                       )              CHAPTER 13
                                             )
Yolanda Renee Lockwood,                      )              CASE NO. 21-52578 - SMS
                                             )
                                             )
                                             )
         DEBTOR.                             )

                                CERTIFICATE OF SERVICE

        I hereby certify under penalty of perjury that I am more than 18 years of age, and that on
this day; I served, or caused to be served, a copy of the foregoing amended schedules upon the
following by depositing a copy of the same in U.S. Mail with sufficient postage affixed thereon to
ensure delivery:

Santander Consumer, Usa
P.O. Box 961245, C/O Abel Marin
Fort Worth, TX 76161

Yolanda Renee Lockwood
13882 Panhandle Lane
Hampton, GA 30228

       I further certify that, by agreement of parties, Nancy J. Whaley, standing Chapter 13
Trustee, was served via the ECF electronic mail/noticing system.

                                       {signature below}

                                                    Done, this 14th day of June 2021

                                                    /s/
                                                    Araba Kwofie
                                                    GA Bar No.: 901621
                                                    The Semrad Law Firm, LLC
                                                    235 Peachtree St NE
                                                    Suite #300
                                                    Atlanta, GA 30303
                                                    (678) 668-7160
                                                    Attorney for the Debtor/Movant
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                       SUPPLEMENTAL CREDITOR MATRIX

                           Santander Consumer, Usa
                        P.O. Box 961245, C/O Abel Marin
                              Fort Worth, TX 76161
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 Fill in this information to identify your case:
 Debtor 1               Yolanda                                 Renee                            Lockwood
                        First Name                              Middle Name                      Last Name
 Debtor 2
 (Spouse, if filing)    First Name                              Middle Name                      Last Name
 United States Bankruptcy Court for the:              Northern                            District of Georgia
                                                                                                      (State)
 Case number            21-52578
 (If known)
                                                                                                                                                                             Check if this is an
                                                                                                                                                                             amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information -
Amended                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


 Part 1:       Summarize Your Assets

                                                                                                                                                        Your assets
                                                                                                                                                        Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                 $129,116.50
     1a. Copy line 55, Total real estate, from Schedule A/B .....................................................................................
                                                                                                                                                                 $64,295.00
      1b. Copy line 62, Total personal property, from Schedule A/B ..........................................................................

                                                                                                                                                                 $193,411.50
      1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................


 Part 2:       Summarize Your Liabilities

                                                                                                                                                        Your liabilities
                                                                                                                                                        Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                                                 $242,460.12
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)                                                                                     $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................
                                                                                                                                                                 $63,342.38
      3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........................

                                                                                                                             Your total liabilities              $305,802.50



 Part 3:       Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                 $5,700.00
     Copy your combined monthly income from line 12 of Schedule I .........................................................................

 5. Schedule J: Your Expenses (Official Form 106J)
                                                                                                                                                                 $4,500.00
     Copy your monthly expenses from line 22, Column A, of Schedule J................................................................




  Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 1
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Debtor 1 Yolanda                             Renee                     Lockwood                     Case number (if known) 21-52578
            First Name                       Middle Name               Last Name

Part 4:    Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
          No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
          Yes.

7. What kind of debt do you have?
          Your debts are primarily consumer debts. Consumer debts are those incurred by an individual primarily for a personal,
          family, or household purpose. 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.
          Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
          this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official                                 $1,666.67
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

     From Part 4 on Schedule E/F, copy the following:                                                         Total claim


     9a. Domestic support obligations (Copy line 6a.)                                                         $0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                $0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                      $0.00

     9d. Student loans. (Copy line 6f.)                                                                       $60,691.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as              $0.00
     priority claims. (Copy line 6g.)
                                                                                                              $0.00
     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)

     9g. Total. Add lines 9a through 9f.                                                                      $60,691.00




 Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                                 page 2
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 Fill in this information to identify your case:
 Debtor 1               Yolanda                           Renee                     Lockwood
                        First Name                        Middle Name               Last Name
 Debtor 2
 (Spouse, if filing)    First Name                        Middle Name               Last Name
 United States Bankruptcy Court for the:         Northern                     District of Georgia
                                                                                          (State)
 Case number            21-52578
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106A/B                                                                                                                             amended filing

Schedule A/B: Property - Amended                                                                                                                                       12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.
 Part 1:       Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In
 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
           No. Go to Part 2
                Yes. Where is the property?
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.1         13882 Panhandle Lane                                    Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                13882 Panhandle Lane                                    Duplex or multi-unit building
                Number        Street                                    Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home                  $258233.00               $129116.50
                Hampton          Georgia          30228                 Land
                City             State            Zip Code              Investment property                          Describe the nature of your ownership
                                                                                                                     interest (such as fee simple, tenancy by
                Henry                                                   Timeshare                                    the entireties, or a life estate), if known.
                County                                                  Other
                                                                                                                     Fee Simple
                                                                     Who has an interest in the property? Check          Check if this is community property
                                                                     one.                                                (see instructions)
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification
                                                                     number:
      If you own or have more than one, list here:
                                                                     What is the property? Check all that apply.     Do not deduct secured claims or exemptions. Put
    1.2                                                                 Single-family home                           the amount of any secured claims on Schedule D:
                Street address, if available, or other description                                                   Creditors Who Have Claims Secured by Property.
                                                                        Duplex or multi-unit building
                                                                        Condominium or cooperative                   Current value of the     Current value of the
                                                                                                                     entire property?         portion you own?
                                                                        Manufactured or mobile home
                                                                        Land
                Number         Street                                                                                Describe the nature of your ownership
                                                                        Investment property
                                                                                                                     interest (such as fee simple, tenancy by
                                                                        Timeshare                                    the entireties, or a life estate), if known.
                City                 State          Zip Code            Other
                                                                                                                         Check if this is community property
                                                                     Who has an interest in the property? Check          (see instructions)
                                                                     one.
                                                                        Debtor 1 only
                                                                        Debtor 2 only
                                                                        Debtor 1 and Debtor 2 only
                                                                        At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:


   Official Form 106A/B                                                       Schedule A/B: Property                                                     page 1
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 Debtor 1 Yolanda                                 Renee                          Lockwood                          Case number (if known) 21-52578
              First Name                          Middle Name                    Last Name
                                                                 What is the property? Check all that apply.                       Do not deduct secured claims or exemptions. Put
 1.3                                                                  Single-family home                                           the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                          Creditors Who Have Claims Secured by Property.
                                                                      Duplex or multi-unit building
                                                                      Condominium or cooperative                                   Current value of the     Current value of the
                                                                                                                                   entire property?         portion you own?
                                                                      Manufactured or mobile home
                                                                      Land
       Number              Street                                                                                                  Describe the nature of your ownership
                                                                      Investment property
                                                                                                                                   interest (such as fee simple, tenancy by
                                                                      Timeshare                                                    the entireties, or a life estate), if known.
       City                     State         Zip Code                Other

                                                                                                                                        Check if this is community property
                                                                 Who has an interest in the property? Check one.                        (see instructions)
                                                                      Debtor 1 only
                                                                      Debtor 2 only
                                                                      Debtor 1 and Debtor 2 only
                                                                      At least one of the debtors and another
                                                                                   Other information you wish to add about this item, such as local
                                                                                   property identification number:
   2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
                                                                                                                                                       $129116.50
   you have attached for Part 1. Write that number here.
   ...................................................................................................


Part 2:       Describe Your Vehicles
Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
        No
        Yes
       3.1 Make                              Lincoln                   Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                             MKZ                      one.                                                         the amount of any secured claims on Schedule D:
           Year:                             2014                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Approximate mileage:              55000
                                                                           Debtor 2 only                                            Current value of the    Current value of the
              Other information:                                           Debtor 1 and Debtor 2 only                               entire property?        portion you own?
              2014 Lincoln MKZ                                                                                                      $17575.00               $17575.00
                                                                           At least one of the debtors and another
                                                                          Check if this is community property (see
                                                                          instructions)
       3.2 Make                              Hyundai                   Who has an interest in the property? Check                   Do not deduct secured claims or exemptions. Put
           Model:                             Tucson                   one.                                                         the amount of any secured claims on Schedule D:
           Year:                             2018                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Approximate mileage:              20000
                                                                           Debtor 2 only                                            Current value of the    Current value of the
              Other information:                                           Debtor 1 and Debtor 2 only                               entire property?        portion you own?
              2018 Hyundai Tucson                                                                                                   $19100.00               $19100.00
                                                                           At least one of the debtors and another
                                                                           Check if this is community property (see
                                                                           instructions)




  Official Form 106A/B                                                            Schedule A/B: Property                                                                page 2
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Debtor 1 Yolanda                                     Renee                            Lockwood                          Case number (if known) 21-52578
             First Name                              Middle Name                      Last Name
       3.3 Make                                 Dodge                      Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                Challenger                one.                                                           the amount of any secured claims on Schedule D:
           Year:                                2018                            Debtor 1 only                                             Creditors Who Have Claims Secured by Property.
           Approximate mileage:
                                                                                Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                                                                          $23200.00               $23200.00
                                                                                At least one of the debtors and another
                                                                              Check if this is community property (see
                                                                              instructions)
       3.4 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
4      Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
            No
            Yes
       4.1 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
       4.2 Make                                                            Who has an interest in the property? Check                     Do not deduct secured claims or exemptions. Put
           Model:                                                          one.                                                           the amount of any secured claims on Schedule D:
           Year:                                                              Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
           Approximate mileage:                                                 Debtor 2 only                                             Current value of the    Current value of the
              Other information:                                                Debtor 1 and Debtor 2 only                                entire property?        portion you own?
                                                                                At least one of the debtors and another
                                                                                Check if this is community property (see
                                                                                instructions)
    5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
                                                                                                                                                               $59875.00
    you have attached for Part 2. Write that number here ...................................................................................................




    Official Form 106A/B                                                              Schedule A/B: Property                                                                page 3
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Debtor 1 Yolanda                                       Renee                               Lockwood                             Case number (if known) 21-52578
            First Name                                 Middle Name                         Last Name

Part 3:    Describe Your Personal and Household Items
                                                                                                                                                                 Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                portion you own?
                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                 or exemptions.
 6. Household goods and furnishings
  Examples: Major appliances, furniture, linens, china, kitchenware
   No
   Yes. Describe...           Household Goods & Furnishings                                                                                                       $2000.00

 7. Electronics
  Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
   No
   Yes. Describe...           Electronics                                                                                                                         $1500.00

 8. Collectibles of value
  Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   No
   Yes. Describe...

 9. Equipment for sports and hobbies
  Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
            and kayaks; carpentry tools; musical instruments
   No
   Yes. Describe...

 10. Firearms
  Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   No
   Yes. Describe...

 11. Clothes
  Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   No
   Yes. Describe...           Clothing                                                                                                                            $700.00

 12. Jewelry
  Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
            gold, silver
   No
   Yes. Describe...           Jewelry                                                                                                                             $200.00

 13. Non-farm animals
  Examples: Dogs, cats, birds, horses
   No
   Yes. Describe...

 14. Any other personal and household items you did not already list, including any health aids you did not list
   No
   Yes. Describe...

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
                                                                                                                                                                   $4400.00
 for Part 3. Write that number here ..........................................................................................................................




 Official Form 106A/B                                                                      Schedule A/B: Property                                                                      page 4
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Debtor 1 Yolanda                                         Renee                                   Lockwood                  Case number (if known) 21-52578
          First Name                                     Middle Name                             Last Name

Part 4:   Describe Your Financial Assets
                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?                                                                                  portion you own?
                                                                                                                                                             Do not deduct secured claims
                                                                                                                                                             or exemptions.
16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
          No
          Yes ....................................................................................................
                                                                                                   Cash: .................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
       and other similar institutions. If you have multiple accounts with the same institution, list each.
          No
                                                                                         Institution name:
          Yes

                                        17.1. Checking account:                          BB&T                                                                $20.00
                                        17.2. Checking account:
                                        17.3. Savings account:
                                        17.4. Savings account:
                                        17.5. Certificates of deposit:
                                        17.6. Other financial account:
                                        17.7. Other financial account:
                                        17.8. Other financial account:
                                        17.9. Other financial account:

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
          No
                                        Institution or issuer name:
          Yes




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
    an LLC, partnership, and joint venture
          No
                                        Name of entity                                                                    % of ownership:
          Yes. Give specific
          information about
          them




 Official Form 106A/B                                                                            Schedule A/B: Property                                                      page 5
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Debtor 1 Yolanda                              Renee                    Lockwood                    Case number (if known) 21-52578
         First Name                           Middle Name              Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
          No
          Yes. Give specific
          information about    Issuer name:
          them.....




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
          No
                               Type of account:                    Institution name:
          Yes. List each
          account              401(k) or similar plan:
          separately.
                               Pension plan:
                               IRA:
                               Retirement account:
                               Keogh:
                               Additional account:

                               Additional account:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others
        No                                                    Institution name:
          Yes....              Electric:
                               Gas:
                               Heating oil:
                               Security deposit on rental unit:
                               Prepaid rent:
                               Telephone:
                               Water:
                               Rented furniture:
                               Other:
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
          No
                               Issuer name and description:
          Yes....




 Official Form 106A/B                                                   Schedule A/B: Property                                             page 6
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Debtor 1 Yolanda                            Renee                      Lockwood                      Case number (if known) 21-52578
         First Name                         Middle Name                Last Name
24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
          No
                      Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):
          Yes....




25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
      exercisable for your benefit
          No
          Yes. Describe...


26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
          No
          Yes. Describe...


27.   Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
          No
          Yes. Describe...



Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                         portion you own?
                                                                                                                                         Do not deduct secured
                                                                                                                                         claims or exemptions.
28. Tax refunds owed to you
         No
         Yes. Give specific information                                                                           Federal:               $0.00
              about them, including whether
              you already filed the returns                                                                       State:                 $0.00
              and the tax years..............
                                                                                                                  Local:                 $0.00
29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
         No
                                                                                                                  Alimony:               $0.00
         Yes. Give specific information......
                                                                                                                  Maintenance:           $0.00

                                                                                                                  Support:               $0.00

                                                                                                                  Divorce settlement:    $0.00

                                                                                                                  Property settlement:   $0.00
30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
              Social Security benefits; unpaid loans you made to someone else
         No
         Yes. Describe...




 Official Form 106A/B                                                   Schedule A/B: Property                                                        page 7
                 Case 21-52578-sms                             Doc 16           Filed 06/14/21 Entered 06/14/21 10:44:06                                           Desc Main
                                                                               Document     Page 14 of 23
Debtor 1 Yolanda                                      Renee                             Lockwood                             Case number (if known) 21-52578
            First Name                                Middle Name                       Last Name
31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
                                                                      Company name:                                                        Beneficiary:             Surrender or refund value:
            Yes. Name the insurance company
            of each policy and list its value.....




32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
    property because someone has died.
            No
            Yes. Describe...


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe...


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
    to set off claims
            No
            Yes. Describe...


35. Any financial assets you did not already list
            No
            Yes. Describe...



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
                                                                                                                                                                           $20.00
    for Part 4. Write that number here ................................................................................................................



Part 5:     Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
            No. Go to Part 6.                                                                                                                                  Current value of the
                                                                                                                                                               portion you own?
            Yes. Go to line 38.                                                                                                                                Do not deduct secured claims
                                                                                                                                                               or exemptions
38. Accounts receivable or commissions you already earned
            No
            Yes. Describe...


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
            No
            Yes. Describe...




 Official Form 106A/B                                                                    Schedule A/B: Property                                                               page 8
                    Case 21-52578-sms                               Doc 16           Filed 06/14/21 Entered 06/14/21 10:44:06                                                           Desc Main
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 Debtor 1 Yolanda                                         Renee                               Lockwood                              Case number (if known) 21-52578
              First Name                                  Middle Name                         Last Name
 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
              No
              Yes. Describe...


 41. Inventory
              No
              Yes. Describe...


 42. Interests in partnerships or joint ventures
              No
                                                                           Name of entity:                                                         % of ownership:
              Yes. Give specific
              information about
              them



 43. Customer lists, mailing lists, or other compilations
              No
              Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

                           No
                           Yes. Describe........

 44. Any business-related property you did not already list
              No
              Yes. Give specific
              information .......




45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that number here ...............................................................................................................................................

 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.

 46.     Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
               No. Go to Part 7.                                                                                                                                                     Current value of the
                                                                                                                                                                                     portion you own?
               Yes. Go to line 47.                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                     or exemptions
 47.     Farm animals
         Examples: Livestock, poultry, farm-raised fish
               No
               Yes. Describe...




   Official Form 106A/B                                                                        Schedule A/B: Property                                                                              page 9
                    Case 21-52578-sms                               Doc 16           Filed 06/14/21 Entered 06/14/21 10:44:06                                                        Desc Main
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 Debtor 1 Yolanda                                         Renee                               Lockwood                               Case number (if known) 21-52578
              First Name                                  Middle Name                         Last Name
 48.     Crops-either growing or harvested
               No
               Yes. Describe...


 49.     Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
               No
               Yes. Describe...


 50.     Farm and fishing supplies, chemicals, and feed
               No
               Yes. Describe...


 51.     Any farm- and commercial fishing-related property you did not already list
               No
               Yes. Describe...



52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
for Part 6. Write that number here .................................................................................................................................




 Part 7:      Describe All Property You Own or Have an Interest in That You Did Not List Above
 53. Do you have other property of any kind you did not already list?
     Examples: Season tickets, country club membership
              No
              Yes. Give specific
              information




54. Add the dollar value of all of your entries from Part 7. Write that number here ...........................................................................




 Part 8:      List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ...........................................................................................................................................     $129116.50


 56. part 2 total vehicles, line 5                                                                 $59875.00
 57.Part 3: Total personal and household items, line 15                                            $4400.00
 58.Part 4: Total financial assets, line 36                                                        $20.00
 59. Part 5: Total business-related property, line 45
 60. Part 6: Total farm- and fishing-related property, line 52
 61. Part 7: Total other property not listed, line 54
 62. Total personal property. Add lines 56 through 61. ....................
                                                                                                   $64295.00                                                                            + $64295.00
                                                                                                                                            Copy personal property total

                                                                                                                                                                                        $193411.50
 63.Total of all property on Schedule A/B. Add line 55 + line 62..........................................................................................


   Official Form 106A/B                                                                        Schedule A/B: Property                                                                       page 10
                      Case 21-52578-sms               Doc 16        Filed 06/14/21 Entered 06/14/21 10:44:06                              Desc Main
                                                                   Document     Page 17 of 23
Fill in this information to identify your case:
Debtor 1                Yolanda                       Renee                     Lockwood
                        First Name                    Middle Name               Last Name
Debtor 2
(Spouse, if filing)     First Name                    Middle Name               Last Name
United States Bankruptcy Court for the:       Northern                     District of Georgia
                                                                                       (State)
Case number             21-52578
(If known)
                                                                                                                                                   Check if this is an
Official Form 106C                                                                                                                                 amended filing


Schedule C: The Property You Claim as Exempt - Amended                                                                                                          04/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim
as exempt. If more space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any
additional pages, write your name and case number (if known).
For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to
state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to
the amount of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and
tax-exempt retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value
under a law that limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount,
your exemption would be limited to the applicable statutory amount.

Part 1:       Identify the Property You Claim as Exempt
 1.     Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
              You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
              You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
 2.     For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


        Brief description of the property and         Current value of        Amount of the exemption you claim               Specific laws that allow exemption
        line on Schedule A/B that lists this          the portion you
        property                                      own                     Check only one box for each exemption.

                                                      Copy the value from
                                                      Schedule A/B

        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(1)
        description:                                     $129,116.50
              13882 Panhandle Lane,                                                                $21,500.00
              Hampton, GA 30228                                                   100% of fair market value, up to any
        Line from                                                                 applicable statutory limit
        Schedule A/B:      01
        Brief                                                                                                                      O.C.G.A. § 44-13-100(a)(4)
        description:                                      $2,000.00
              Household Goods &                                                                     $1,675.91
              Furnishings                                                         100% of fair market value, up to any
        Line from                                                                 applicable statutory limit
        Schedule A/B:      06

 3.     Are you claiming a homestead exemption of more than $170,350?
        (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
              No
              Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

                      No
                      Yes




      Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                         page 1 of 2
              Case 21-52578-sms                Doc 16       Filed 06/14/21 Entered 06/14/21 10:44:06                             Desc Main
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Debtor 1 Yolanda                       Renee                      Lockwood                  Case number (if known) 21-52578
          First Name                   Middle Name                Last Name

Part 2:   Additional Page

    Brief description of the property and      Current value of      Amount of the exemption you claim              Specific laws that allow exemption
    line on Schedule A/B that lists this       the portion you
    property                                   own                   Check only one box for each exemption.

                                               Copy the value from
                                               Schedule A/B

    Brief                                                                                                                 O.C.G.A. § 44-13-100(a)(4)
    description:                                  $1,500.00
          Electronics                                                                    $1,500.00
    Line from                                                            100% of fair market value, up to any
    Schedule A/B:       07                                               applicable statutory limit
    Brief                                                                                                                 O.C.G.A. § 44-13-100(a)(4)
    description:                                     $700.00
          Clothing                                                                        $700.00
    Line from                                                            100% of fair market value, up to any
    Schedule A/B:       11                                               applicable statutory limit
    Brief                                                                                                                 O.C.G.A. § 44-13-100(a)(3)
    description:                                 $17,575.00
          Lincoln MKZ, 2014, 2014                                                           $0
          Lincoln MKZ                                                    100% of fair market value, up to any
    Line from                                                            applicable statutory limit
    Schedule A/B:        03
    Brief                                                                                                                 O.C.G.A. § 44-13-100(a)(3)
    description:                                 $19,100.00
          Hyundai Tucson, 2018,                                                             $0
          2018 Hyundai Tucson                                            100% of fair market value, up to any
    Line from                                                            applicable statutory limit
    Schedule A/B:       03
    Brief                                                                                                                 O.C.G.A. § 44-13-100(a)(5)
    description:                                     $200.00
          Jewelry                                                                         $200.00
    Line from                                                            100% of fair market value, up to any
    Schedule A/B:       12                                               applicable statutory limit
    Brief                                                                                                                 O.C.G.A. § 44-13-100(a)(6)
    description:                                     $20.00
          Checking account,                                                               $20.00
          BB&T                                                           100% of fair market value, up to any
    Line from                                                            applicable statutory limit
    Schedule A/B:       17
    Brief                                                                                                                 O.C.G.A. § 44-13-100(a)(3)
    description:                                 $23,200.00
          Dodge Challenger, 2018                                                            $0
    Line from                                                            100% of fair market value, up to any
    Schedule A/B:       03                                               applicable statutory limit




  Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                      page 2 of 2
                       Case 21-52578-sms                   Doc 16        Filed 06/14/21 Entered 06/14/21 10:44:06                                 Desc Main
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 Fill in this information to identify your case:
 Debtor 1                 Yolanda                          Renee                       Lockwood
                          First Name                       Middle Name                 Last Name
 Debtor 2
 (Spouse, if filing)      First Name                       Middle Name                 Last Name
 United States Bankruptcy Court for the:            Northern                     District of Georgia
                                                                                             (State)
 Case number              21-52578
 (If known)
                                                                                                                                                           Check if this is an
Official Form 106D                                                                                                                                         amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
 1. Do any creditors have claims secured by your property?
        No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:       List All Secured Claims
 2.       List all secured claims. If a creditor has more than one secured claim, list the creditor                 Column A               Column B             Column C
          separately for each claim. If more than one creditor has a particular claim, list the other creditors     Amount of claim        Value of             Unsecured
          in Part 2. As much as possible, list the claims in alphabetical order according to the creditor's         Do not deduct the      collateral           portion
          name.                                                                                                     value of collateral.   that supports        If any
                                                                                                                                           this claim
  2.1     Exeter Finance Llc                         Describe the property that secures the claim:                     $28,582.00             $19,100.00        $9,482.00
          Creditor's Name
           4515 N Santa Fe Ave Dept Aps              2019 Hyundai Tuscan
                 Number                Street        As of the date you file, the claim is: Check all that apply.
                                                         Contingent
          Oklahoma City            OK       73118        Unliquidated
          City                     State ZIP Code
                                                         Disputed
          Who owes the debt? Check one.
             Debtor 1 only                           Nature of lien. Check all that apply.
                  Debtor 2 only                          An agreement you made (such as mortgage or secured
                                                         car loan)
                  Debtor 1 and Debtor 2 only
                                                         Statutory lien (such as tax lien, mechanic's lien)
              At least one of the debtors
              and another                                Judgment lien from a lawsuit
              Check if this claim relates                Other (including a right to offset)
              to a community debt
          Date debt was          10/2019             Last 4 digits of account number               1001
          incurred
  2.2     Gm Financial                               Describe the property that secures the claim:                     $21,009.26            $17,575.00         $3,434.26
          Creditor's Name
           801 Cherry St Ste 3900                    2014 Lincoln MKZ
                 Number                Street        As of the date you file, the claim is: Check all that apply.
                                                         Contingent
          Fort Worth               TX       76102        Unliquidated
          City                     State ZIP Code
                                                         Disputed
          Who owes the debt? Check one.
             Debtor 1 only                           Nature of lien. Check all that apply.
                  Debtor 2 only                          An agreement you made (such as mortgage or secured
                                                         car loan)
                  Debtor 1 and Debtor 2 only
                                                         Statutory lien (such as tax lien, mechanic's lien)
              At least one of the debtors
              and another                                Judgment lien from a lawsuit
              Check if this claim relates                Other (including a right to offset)
              to a community debt
          Date debt was          10/2019             Last 4 digits of account number               3073
          incurred
                       Add the dollar value of your entries in Column A on this page. Write that number                $49,591.26
                       here:




      Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                        page 1
                 Case 21-52578-sms                      Doc 16        Filed 06/14/21 Entered 06/14/21 10:44:06                               Desc Main
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Debtor 1 Yolanda                                Renee                        Lockwood                   Case number (if known) 21-52578
             First Name                         Middle Name                  Last Name
                 Additional Page
                                                                                                     Column A                        Column B             Column C
  Part:1
                 After listing any entries on this page, number them beginning with 2.3, followed by
                 2.4, and so forth.                                                                  Amount of claim                 Value of             Unsecured
                                                                                                     Do not deduct the               collateral           portion
                                                                                                     value of collateral.            that supports        If any
                                                                                                                                     this claim

2.3   Wells Fargo                                  Describe the property that secures the claim:                    $156,000.00           $258,233.00        $0.00
      Creditor's Name
      P.O. Box 48724                               13882 Panhandle Lane, Hampton, GA 30228
             Number           Street               As of the date you file, the claim is: Check all that apply.
                                                       Contingent
      Kansas City             MO       64188            Unliquidated
      City                    State ZIP Code
                                                        Disputed
      Who owes the debt? Check one.
         Debtor 1 only                             Nature of lien. Check all that apply.
              Debtor 2 only                             An agreement you made (such as mortgage or secured
                                                        car loan)
              Debtor 1 and Debtor 2 only
                                                        Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and
          another                                       Judgment lien from a lawsuit
          Check if this claim relates to                Other (including a right to offset)
          a community debt
      Date debt was                                Last 4 digits of account number
      incurred
2.4   W.s. Badcock Corp                            Describe the property that secures the claim:                      $324.09              $2,000.00         $0.00
      Creditor's Name
      P.O. Box 497                                 Household Goods & Furnishings | Value: $2,000.00
             Number           Street               As of the date you file, the claim is: Check all that apply.
                                                       Contingent
      Mulberry                FL       33860            Unliquidated
      City                    State ZIP Code
                                                        Disputed
      Who owes the debt? Check one.
         Debtor 1 only                             Nature of lien. Check all that apply.
              Debtor 2 only                             An agreement you made (such as mortgage or secured
                                                        car loan)
              Debtor 1 and Debtor 2 only
                                                        Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and
          another                                       Judgment lien from a lawsuit
          Check if this claim relates to                Other (including a right to offset)
          a community debt
      Date debt was             4/2020             Last 4 digits of account number
      incurred
2.5   Atlantic Commercial Cleaning and             Describe the property that secures the claim:                     $3,000.00            $258,233.00        $0.00
      Floor Services LLC
      Creditor's Name                              13882 Panhandle Lane, Hampton, GA 30228 | Value:
      9450 SW Gemini Dr #7790                      $258,233.00
             Number           Street               As of the date you file, the claim is: Check all that apply.
                                                       Contingent
                                       97008-           Unliquidated
      Beaverton               OR       7105
      City                    State ZIP Code
                                                        Disputed
      Who owes the debt? Check one.                Nature of lien. Check all that apply.
         Debtor 1 only
                                                        An agreement you made (such as mortgage or secured
              Debtor 2 only                             car loan)
              Debtor 1 and Debtor 2 only                Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and               Judgment lien from a lawsuit
          another
                                                        Other (including a right to offset)
          Check if this claim relates to
          a community debt                         Last 4 digits of account number
      Date debt was
      incurred
                   Add the dollar value of your entries in Column A on this page. Write that number                 $159,324.09
                   here:
                   If this is the last page of your form, add the dollar value totals from all pages.
                   Write that number here:




  Official Form 106D                                    Schedule D: Creditors Who Have Claims Secured by Property                                       page 2
                 Case 21-52578-sms                     Doc 16        Filed 06/14/21 Entered 06/14/21 10:44:06                               Desc Main
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Debtor 1 Yolanda                               Renee                        Lockwood                   Case number (if known) 21-52578
             First Name                        Middle Name                  Last Name
                 Additional Page
                                                                                                     Column A                       Column B            Column C
  Part:1
                 After listing any entries on this page, number them beginning with 2.3, followed by
                 2.4, and so forth.                                                                  Amount of claim                Value of            Unsecured
                                                                                                     Do not deduct the              collateral          portion
                                                                                                     value of collateral.           that supports       If any
                                                                                                                                    this claim

2.6   Santander Consumer, Usa                     Describe the property that secures the claim:                     $33,544.77           $23,200.00      $10,344.77
      Creditor's Name
      P.O. Box 961245, C/O Abel Marin             2018 Dodge Challenger
                                                  As of the date you file, the claim is: Check all that apply.
             Number           Street                  Contingent
                                                       Unliquidated
      Fort Worth              TX       76161
      City                    State ZIP Code
                                                       Disputed
      Who owes the debt? Check one.               Nature of lien. Check all that apply.
         Debtor 1 only
                                                       An agreement you made (such as mortgage or secured
              Debtor 2 only                            car loan)
              Debtor 1 and Debtor 2 only               Statutory lien (such as tax lien, mechanic's lien)
          At least one of the debtors and              Judgment lien from a lawsuit
          another
                                                       Other (including a right to offset)
          Check if this claim relates to
          a community debt                        Last 4 digits of account number
      Date debt was
      incurred
                   Add the dollar value of your entries in Column A on this page. Write that number                 $33,544.77
                   here:
                   If this is the last page of your form, add the dollar value totals from all pages.              $242,460.12
                   Write that number here:




  Official Form 106D                                   Schedule D: Creditors Who Have Claims Secured by Property                                      page 3
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 Fill in this information to identify your case:
 Debtor 1               Yolanda                         Renee                     Lockwood
                        First Name                      Middle Name               Last Name
 Debtor 2
 (Spouse, if filing)    First Name                      Middle Name               Last Name
 United States Bankruptcy Court for the:         Northern                  District of Georgia
                                                                                       (State)
 Case number            21-52578
 (If known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing

Official Form 106H
Schedule H: Your Codebtors- Amended                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.       Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
                  No
                  Yes
 2.       Within the last 8 years, have you lived in a community property state or territory? ( Community property states and territories include Arizona,
          California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
                  No. Go to line 3.
                  Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                      No
                      Yes. In which community state or territory did you live?                      Fill in the name and current address of that person.

                        Name of your spouse, former spouse, or legal equivalent

                        Number       Street

                        City                                    State                      Zip Code

 3.       In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2
          again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
          Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

           Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt
                                                                                                          Check all schedules that apply:
 3.1      Tace, James                                                                                             Schedule D, line 2.3
          Name
                               13882 Panhandle Lane                                                               Schedule E/F, line
          Number               Street
          Hampton                                  Georgia                   30228                                Schedule G, line
          City                                     State                     Zip Code
 3.2      Glenn, Kiana                                                                                            Schedule D, line 2.6
          Name
                               13882 Panhandle Lane                                                               Schedule E/F, line
          Number               Street
          Hampton                                  Georgia                   30228                                Schedule G, line
          City                                     State                     Zip Code




      Official Form 106H                                                 Schedule H: Your Codebtors                                                    page 1
                       Case 21-52578-sms            Doc 16     Filed 06/14/21 Entered 06/14/21 10:44:06                                     Desc Main
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 Fill in this information to identify your case:
 Debtor 1               Yolanda                     Renee                 Lockwood
                        First Name                  Middle Name           Last Name
 Debtor 2
 (Spouse, if filing)    First Name                  Middle Name           Last Name
 United States Bankruptcy Court for the:     Northern                District of Georgia
                                                                                 (State)
 Case number            21-52578
 (If known)
                                                                                                                                                 Check if this is an
Official Form 106Dec                                                                                                                             amended filing


Declaration About an Individual Debtor's Schedules - Amended                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining
money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.

 Part 1:       Sign Below

       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No
              Yes. Name of person                                          Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                           Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

 û Signature
    /s/ Yolanda Lockwood
             of Debtor 1
                                                                                  û Signature of Debtor 2
       Date 6/11/2021                                                                  Date
            MM/DD/YYYY                                                                        MM/DD/YYYY




   Official Form 106Dec                                 Declaration About an Individual Debtor's Schedules                                        page 1
